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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF GEORGIA
                                 COLUMBUS DIVISION

                                              :
UNITED STATES OF AMERICA                      :
                                              :
      v.                                      : CASE NO. 4:21-CR-22 (CDL)
                                              :
TRENNA D. TRICE                               :
                                              :
            Defendant                         :
                                              :


              PRELIMINARY ORDER OF FORFEITURE/MONEY JUDGMENT

           WHEREAS, on December 20, 2021, Defendant Trenna D. Trice (hereinafter “Trice”

  or “Defendant”), pled guilty to Count One of the Information charging her with Wire

  Fraud, in violation of Title 18, United States Code, Section 1343;

           AND WHEREAS, the Information contained a Forfeiture Notice, pursuant to

  which the United States seeks forfeiture under Title 18, United States Code, Section

  981(a)(1)(C), in conjunction with Title 28, United States Code, Section 2461(c), of any

  property, real or personal, which constitutes or is derived from proceeds traceable to said

  violation(s), including, but not limited to, a personal money judgment in an amount to be

  determined;

           AND WHEREAS, the Defendant pled guilty in a written Plea Agreement to Count

  One of the Information charging that Trice, for purposes of willfully executing a scheme

  with intent to defraud and obtain money by false and fraudulent pretenses,

  representations, and promises, caused to be transmitted in interstate commerce, by
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means of wire communications, certain signs, signals, and sounds, to wit: approximately

400 financial transactions involving checks and credit card charges that were intended

for the benefit of the UNCF, but which the Defendant then diverted without

authorization for her own personal use; all in violation of Title 18, United States Code,

Section 1343;

       AND WHEREAS, in her Plea Agreement, the Defendant agreed to the

forfeiture/money judgment consisting of a personal money judgment against her in the

amount of two hundred forty thousand, two hundred fifty-nine dollars ($240,259.00);

       AND WHEREAS, the United States has filed a Motion and Memorandum for the

Issuance of a Preliminary Order of Forfeiture/Money Judgment against Trice in the

amount of $240,259.00, representing the proceeds of the violation, obtained directly or

indirectly, as a result of such offense(s); and

        WHEREAS, Rule 32.2(c)(1) of the Federal Rules of Criminal Procedure provides

that “no ancillary proceeding is required to the extent that the forfeiture consists of a

money judgment”;

       NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED

THAT:

       1.       Pursuant to 18 U.S.C. § 981(a)(1)(C), 28 U.S.C. § 2461(c), 18 U.S.C. § 3554,

and Rule 32.2(b), Federal Rules of Criminal Procedure, the Court finds by a

preponderance of the evidence that the United States has demonstrated the required



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nexus between the personal money judgment amount and the offense(s) of conviction,

and the Defendant shall forfeit to the United States the sum of two hundred forty

thousand, two hundred fifty-nine dollars ($240,259.00).

       2.     The United States District Court, Middle District of Georgia, shall retain

jurisdiction in the case for the purpose of enforcing this Order of Forfeiture/Money

Judgment.

       3.     Pursuant to FED. R. CRIM. P. 32.2(b)(4), this Order of Forfeiture/Money

Judgment shall become final as to the Defendant at the time of sentencing and shall be

made part of the sentence and included in the judgment.

       4.     As issued this date, this Order of Forfeiture/Money Judgment consists of a

judgment for a sum of money. The United States may, at any time, move pursuant to

FED. R. CRIM. P. 32.2(e), to amend this Order of Forfeiture/Money Judgment if the

Government locates specific assets traceable to the subject property or other assets subject

to forfeiture as substitute assets pursuant to 21 U.S.C. § 853(p), as incorporated by 28

U.S.C. § 2461(c), through 18 U.S.C. § 981(a)(1)(C).



       SO ORDERED, this 8th day of March, 2022.



                                                 S/Clay D. Land
                                                 CLAY D. LAND, JUDGE
                                                 UNITED STATES DISTRICT COURT
                                                 MIDDLE DISTRICT OF GEORGIA

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